           Case 1:23-cv-02116-SDA Document 20 Filed 05/19/23 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_________________________________________
 MELISSA ARZU, Individually and as the      :
 Administrator of the Estate of KEVIN ISMAEL:
 GREENIDGE, Deceased and MELISSA ARZU:
 Individually,                              :
                                           :                 CIVIL ACTION
                         Plaintiffs,        :
                                            :                Case No.: 1:23-cv-02116 (AT)
                  -against-                 :
                                            :
AMERICAN AIRLINES, INC.,                    :
                                            :                NOTICE OF MOTION
                                            :
                          Defendant.        :
      ____________________________________ :

TO: THE ABOVE-CAPTIONED COURT, ALL PARTIES AND ALL COUNSEL

       PLEASE TAKE NOTICE that upon the pleadings and proceedings in the above captioned

matter and the accompanying Memorandum of Law, Defendant American Airlines, Inc. (AA) will

move this Court, on a date to be scheduled by the Court, for an Order, pursuant to Federal Rules of

Civil Procedure 12(b)(2) and 12(b)(6), dismissing Plaintiffs' Complaint for lack of personal

jurisdiction over AA and for failure to state a claim upon which relief can be granted.


Dated: May 19, 2023
New York, New York




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                                          BUCHANAN INGERSOLL & ROONEY PC

                                          /s/ Kelly H. Kolb
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                                          Attorneys for Defendant American Airlines, Inc.

                               CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of May, 2023, I caused to be electronically filed

the foregoing Notice of Appearance of Kelly H. Kolb with the Clerk of the Court via

CM/ECF. Notice of this filing will be sent by email to all parties by operation of the Court's

electronic filing system. Parties may access the filing through the Court's CM/ECF System.

DATED: New York, New York
       May 19, 2023



                                          /s/ Kelly H. Kolb
                                          Kelly Kolb, Esq.




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